  Case 21-30589-MBK             Doc 2018-5 Filed 04/08/22 Entered 04/08/22 12:03:10                        Desc
                                  Certificate of Service Page 1 of 1

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)




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                                                                 Case No.:            21-30589
                                                                                 __________________
In Re:
 LTL MANAGEMENT, LLC,                                            Chapter:        ___________________
                                                                                          11

                                                                                  April 12, 2022
                                                                 Hearing Date: __________________

                                                                 Judge:          __________________
                                                                                  Michael B. Kaplan


                          APPLICATION FOR ORDER SHORTENING TIME


                                   Richard Golomb, Esq.
           The applicant ________________________________________, on behalf of
          Claimant Brandi Carl
   ________________________________ requests that the time period to/for
       notice, service and hearing
   ________________________________                 Fed. R. Bankr. P. 2002(a) be shortened
                                    as required by _________________________
   pursuant to Fed. R. Bankr. P 9006(c)(1), for the reason(s) set forth below:

           1.       A shortened time hearing is requested because:
                    Applicant is requesting the matter be heard at the next omnibus hearing.

           2.       State the hearing dates requested:
                    April 12, 2022 at 10:00 a.m. to coincide with the scheduled omnibus hearing.

           3.       Reduction of the time period is not prohibited under Fed. R. Bankr. P 9006(c)(1).


           The applicant requests entry of the proposed order shortening time.



         04/08/2022
   Date: ___________________                                 /s/ Richard Golomb
                                                             _______________________________
                                                             Signature

                                                                                                        rev.8/1/15
